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9     UNITED STATES OF AMERICA

10                             UNITED STATES DISTRICT COURT

11                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

12    UNITED STATES OF AMERICA,                No. CR 84-972-VAP

13               Plaintiff,                    STATUS REPORT

14                     v.

15    RICHARD W. MILLER, et al.,

16               Defendants.

17

18         Plaintiff United States of America, by and through its counsel
19    of record, the United States Attorney for the Central District of
20    California and Assistant United States Attorney David T. Ryan, hereby
21    files this status report, pursuant to this Court’s June 18, 2019,
22    Order Setting Briefing Schedule (Dkt. 1328).
23         On or about June 26, 2019, government counsel spoke with the
24    Court Information Security Officer (“CISO”), Scooter Slade, regarding
25    the status of the CISO’s review of the materials in the sealed case
26    file provided to the government to determine whether any such
27    materials may be subject to classification.         The CISO informed
28    government counsel that he would seek an Order from the Court on or
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1     before June 28, 2019, to enable him to retrieve and review the full

2     set of records that were previously designated as classified and that

3     are in the CISO’s custody, so that he can compare those records with

4     the materials provided to the government.

5      Dated: June 28, 2019                Respectfully submitted,

6                                          NICOLA T. HANNA
                                           United States Attorney
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                                           PATRICK R. FITZGERALD
8                                          Assistant United States Attorney
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10                                          /s/
                                           DAVID T. RYAN
11                                         Assistant United States Attorney

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